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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

    UNITED STATES OF AMERICA,               Case No. 23-80101-CR
                                            CANNON/REINHART
    vs.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVEIRA,

                Defendants.
    _____________________________________




            PRESIDENT TRUMP’S REPLY BRIEF IN FURTHER SUPPORT OF
          MOTION TO DISMISS THE INDICTMENT BASED ON THE UNLAWFUL
          APPOINTMENT AND FUNDING OF SPECIAL COUNSEL JACK SMITH
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          President Donald J. Trump respectfully submits this reply in support of his motion to

   dismiss the Superseding Indictment based on the unlawful appointment of Special Counsel Jack

   Smith (the “Motion”), and in response to the opposition brief filed by the Special Counsel’s Office,

   ECF No. 374 (the “Opposition”).

     I.   The Special Counsel’s Position Violates The Appointments Clause

          The Special Counsel’s Office does not dispute that the Special Counsel is an “officer” of

   the United States, that the default under the Appointments Clause is that an officer is a principal

   officer, and that the Reno Regulations replaced the expired statutory “Independent Counsel

   regime,” Opp’n at 2, 5. The Office provides no contrary authority suggesting that “established by

   law” in the Appointments Clause means anything but a congressional enactment. See Selia Law

   LLC v. CFPB, 140 S. Ct. 2183, 2227 (2020) (Kagan, J., concurring) (“[T]he President can appoint

   principal officers, but only as the legislature ‘shall establish by Law.’”). Instead, the Office relies

   on inapposite caselaw and 28 U.S.C. §§ 515 and 533, which do not confer the authority that the

   Appointments Clause requires.

              A. The Caselaw Cited By The Special Counsel’s Office Is Incorrect And
                 Non-Binding

          The Nixon Court’s citation to § 515 in connection with discussion of an issue that was not

   in dispute and not central to the Court’s holding is not binding here. See Legal Servs. Corp. v.

   Velazquez, 531 U.S. 533, 557 (2001) (Scalia, J., dissenting) (“Judicial decisions do not stand as

   binding ‘precedent’ for points that were not raised, not argued, and hence not analyzed.”); see also

   ECF No. 364-1 at 16-18 (further distinguishing Nixon).

          The Special Counsel’s Office cites two cases from the D.C. Circuit that wrongly applied

   Nixon as binding precedent. See Opp’n at 4, 8 (citing In re Grand Jury Investigation, 916 F.3d

   1047 (D.C. Cir. 2019) and In re Sealed Case, 829 F.2d 50 (D.C. Cir. 1987)). In In re Grand Jury
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   Investigation, the D.C. Circuit was required to apply In re Sealed Case as “binding precedent” in

   a way that this Court is not. 916 F.3d at 1054. In In re Sealed Case, the D.C. Circuit acknowledged

   that the Reno Regulations “do not explicitly authorize the Attorney General to create an Office of

   Independent Counsel virtually free of ongoing supervision,” and then cited Nixon in order to “read

   [the Reno Regulations] as accommodating the delegation at issue here.” 829 F.2d at 55; Opp’n at

   8. In re Sealed Case reasoned that an Independent Counsel appointed by the Attorney General is

   an inferior officer yet is “free of ongoing supervision by the Attorney General.” 829 F.2d at 56.

   However, in another case cited by the Office, the Supreme Court made clear that every inferior

   officer must be subordinate to a superior officer. Edmond v. United States, 520 U.S. 651, 662

   (1997) (“Whether one is an ‘inferior’ officer depends on whether he has a superior.”); see also

   Opp’n at 5 n.1. Edmond serves as another reason, in addition to the fact that Nixon is non-binding

   dicta, for the Court not to follow In re Sealed Case.

              B. Section 515 Does Not Authorize The Appointment

          Section 515 allows the Attorney General to “specially appoint[]” U.S. Attorneys in certain

   prosecutions. 28 U.S.C. § 515(a). The statute does not, however, authorize the Attorney General

   to appoint attorneys other than Senate-confirmed U.S. Attorneys to exercise the Department’s full

   prosecutorial authority, as the Special Counsel’s Office seeks to do here. Interpreting § 515(a) in

   that fashion would permit the Attorney General to appoint prosecutors more powerful than a U.S.

   Attorney without input from Congress, as Jack Smith wields the full prosecutorial power of the

   United States, yet answers to no one and exercises nationwide jurisdiction. Such unchecked power

   flies in the face of the well-established and essential limits on the exercise of prosecutorial




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   discretion.1 If U.S. Attorneys are principal officers—and they are—then so too must a Special

   Counsel’s appointment require Senate confirmation.

              C. Section 533 Does Not Authorize The Appointment

          Section 533 is not cited in the Reno Regulations and cannot support the Special Counsel’s

   appointment. The statute is located in a part of the U.S. Code that addresses the FBI, not Special

   Counsels, and the expansive interpretation assigned to § 533 by the Special Counsel’s Office

   would eviscerate the statutory structure. See Mot. at 5-6. If, as the Office claims, § 533 “aligns

   perfectly with a Special Counsel, who combines the typical roles of law enforcement and

   prosecutors,” then the Office would not need to partner with the FBI—as they have done in

   connection with this case and in the prosecution in the District of Columbia. Opp’n at 10.

          The analogy by the Special Counsel’s Office to 49 U.S.C. § 323(a) also fails. Opp’n at 10.

   Section 323 specifically provides that the Secretary of Transportation “may appoint . . . officers

   and employees of the Department of Transportation.” 49 U.S.C. § 323(a). Many department heads

   have similar authority. See, e.g., 7 U.S.C. § 610(a) (Agriculture); 20 U.S.C. § 3461 (Education);

   42 U.S.C. § 913 (Health and Human Services). But Congress gave the Attorney General power to

   “appoint such additional officers and employees as he deems necessary[,]” 18 U.S.C. § 4041, only

   for the Bureau of Prisons, not other DOJ components.




   1
     The Special Counsel’s Office claims here that Smith is subject to the direction and supervision
   of the Attorney General, but the Office assured the judge presiding over the District of Columbia
   prosecution that “coordination with the Biden Administration” is “non-existent.” ECF No. 191 at
   6, United States v. Trump, No. 23 Cr. 257 (D.D.C. Dec. 27, 2023). There is significant tension
   between the Office’s assurances to that court that Smith is independent, and not prosecuting the
   Republican nominee for President at the direction of the Biden Administration, and the Office’s
   assurance here that Smith is not independent and is instead so thoroughly supervised and
   accountable to President Biden and Attorney General Garland that this Court should not be
   concerned about such tremendous power being exercised to alter the trajectory of the ongoing
   presidential election.
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       II.   The Special Counsel’s Position Violates The Appropriations Clause

             The Special Counsel’s Office argues that Smith lacks the “same level of independence as

   the statutory Independent Counsel,” but argues that he remains independent enough, even under

   the Reno Regulations, to qualify for the appropriation. Opp’n at 16. In 2004, however, DOJ told

   the GAO that Special Counsel Fitzgerald’s exclusion from the Reno Regulations “contributes to

   the Special Counsel’s independence.” The Hon. Ted Stevens Chairman Comm. on Appropriations,

   2004 WL 2213560, at *3 (Sept. 30, 2004). Special Counsel Fitzgerald was delegated the full

   authority of the Attorney General and powers that Acting Attorney General Comey described as

   “significantly broader” than those given to a Special Counsel subject to the Special Counsel

   regulations. 2 The more expansive authority granted to Fitzgerald, and his independence from the

   Attorney General, was decisive for the GAO in its assessment of his access to the permanent

   appropriation. See 2004 WL 2213560, at *3.

             Prior to the Reno Regulations, attorneys appointed pursuant to the Independent Counsel

   statute were permitted to depart from DOJ procedures “where such procedures were ‘inconsistent

   with the purposes’ of the law, such as when they would compromise his or her independence by

   requiring notification and approval of prosecutorial strategy by Justice Department officials or the

   Attorney General.” CRS Report at 6 n.22.3 The Reno Regulations, applicable to the Special

   Counsel’s Office, created a new type of prosecutor who was much more subordinate to DOJ than

   Fitzgerald. Although not subject to “day-to-day” supervision, Special Counsels are bound by the

   Department’s “review and approval procedures.” 28 C.F.R. § 600.7(a).



   2
       DOJ Press Conference, Appointment of               Special   Prosecutor    (Dec.   30,   2003),
   https://irp.fas.org/news/2003/12/doj123003.html.
   3
    CRS, RL31246, Independent Counsel Law Expiration and the Appointment of “Special
   Counsels” (Jan. 15, 2002) (the “CRS Report”).
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          Section 600.7(a) of the Reno Regulations contemplates “a variety of levels of review and

   approval before the step can be taken,” in order to avoid Special Counsels being “left without

   relevant controls and without Departmental guidance in the most sensitive situations.” 64 Fed.

   Reg. 37038, 37039 (July 9, 1999) (emphasis added). Special Counsels must notify the Attorney

   General of significant events “in conformity with the Departmental guidelines with respect to

   Urgent Reports.” 28 C.F.R. § 600.8(b). The notification requirement requires an “opportunity for

   consultation,” so that “the Attorney General can discharge his or her responsibilities with respect

   to the investigation” with respect to issues such as “seeking an indictment in sensitive cases” and

   “other significant investigative steps,” like executing search warrants targeting public figures. 64

   Fed. Reg. at 37040; see also Justice Manual §§ 1-13.100 – 1.13.140 (submission of “Urgent

   Reports” to “Department leadership”); id. § 9-90.020 (setting forth prior approval and consultation

   requirements in “National Security Matters,” including for arrests, indictments, and search

   warrants). In “extraordinary circumstances,” only, a Special Counsel may bypass the intermediate

   layers of review and approval and consult directly with the Attorney General. 28 C.F.R. § 600.7(a).

   Even then, the Attorney General has an avenue to overrule such action. See id. § 600.7(b) (“If the

   Attorney General concludes that a proposed action by a Special Counsel should not be pursued,

   the Attorney General shall notify Congress as specified in § 600.9(a)(3).”).

          Citing these and other provisions, the Congressional Research Service, outside legal

   experts and even the government have concluded that the Reno Regulations contain provisions

   inconsistent with independence. See CRS Report at 4 (“[I]t seems appropriate that such personnel

   are called Special Counsels, since their designation as ‘independent’ counsels might be considered

   somewhat of a misnomer.”); Julian A. Cook, III, Presidential Crimes Matter, 68 UCLA L. Rev.

   Discourse 222, 231 (2020) (finding that the Reno Regulations “deprive special counsels of any



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   meaningful investigative and prosecutorial independence”); Br. of United States at 27, In re Grand

   Jury Investigation, No. 18-3052 (D.C. Cir. Sept. 28, 2018), available at 2018 WL 4680139

   (defending an Appointments Clause challenge to Special Counsel Mueller by arguing that an

   “independent counsel . . . was subject to less oversight and supervision than is the Special Counsel

   here”) (emphasis in original).

          The historical citations by the Special Counsel’s Office do not address the specific

   argument at hand, which is that prosecutors appointed pursuant to the Reno Regulations do not

   enjoy the requisite level of independence to access the appropriation. The only relevant examples

   cited by the Office are Jack Danforth and John Durham. Opp’n at 19-20. When Danforth was

   appointed, the Reno Regulations were brand new. Danforth issued findings in less than 14 months,

   and the only person he indicted pled guilty without litigation. Thus, no one had an incentive to

   challenge Danforth’s funding. That leaves Durham, which is a single example insufficient to

   establish a “longstanding practice.” Opp’n at 4.

          To be clear, offering the Special Counsel a blank check has harmed President Trump’s

   substantial rights, and DOJ simply could not have funded the entirety of Jack Smith’s expansive

   politically motivated witch hunt from an alternative source. See Opp’n at 20-21. What has

   transpired since Smith’s appointment by the Attorney General is exactly what caused concern as

   the Independent Counsel Act expired. See Mot. at 9-10 (quoting from Independent Counsel

   Hearing testimony that “insulation . . . eliminates the incentive to show restraint in the exercise of

   prosecutorial power” and “provide[s] an impetus to investigate the most trivial matter to an

   unwarranted extreme, and to resolve all doubt against the subjects of an investigation”). Since the

   founding, resource constraints on prosecutors have been regarded as an indispensable guarantee

   of substantive fairness. “The purse & the sword ought never to get into the same hands whether



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   Legislative or Executive.” 1 The Records of the Federal Convention of 1787 at 139-40 (M. Farrand

   ed. 1937). The lack of any such constraints here has allowed the Special Counsel’s Office to

   engage in an unabashed political crusade with zero accountability.

          The Special Counsel’s Office is pursuing two different cases in two jurisdictions in order

   to maximize interference in the ongoing presidential election. This tactic is the luxury of a

   prosecutor facing no resource constraints. And it is far from a forgone conclusion, as the Office

   seems to treat it, that DOJ “could readily have funded the Special Counsel from other

   appropriations that were available.” See Opp’n at 23. In 2019, for example, DOJ was forced to

   prioritize its antitrust review of Google over Apple because it could not afford to pursue both.4

          Even if DOJ could shift to alternate funding sources for the Special Counsel’s Office, that

   possibility does not cure the Appropriations Clause defect. Cf. CFSA v. CFPB, 51 F.4th 616, 641,

   642 (5th Cir. 2022) (rejecting argument that “Congress can alter the Bureau’s perpetual

   self-funding scheme anytime it wants” and reasoning that the constitutional defect had “inflicted

   harm” and entitled defendant to a remedy). Where an official “exercise[s] . . . power that the actor

   did not lawfully possess,” the “remedy in those cases” is “invalidation of the unlawful actions.”

   Id. at 642 (quoting Collins v. Yellen, 141 S. Ct. 1761, 1787-88 (2021)).




   4
    McCabe, U.S. Moves Closer to Filing Sweeping Antitrust Case Against Apple, NY Times (Jan.
   5, 2024).
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    III.     Conclusion

             For the foregoing reasons, President Trump respectfully submits that the Court should

   dismiss the Superseding Indictment pursuant to the Appointments Clause and the Appropriations

   Clause.

     Dated: March 24, 2024                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I, Christopher Kise, certify that on March 24, 2024, I electronically filed the foregoing

   document with the Clerk of Court using CM/ECF.

                                                  /s/ Christopher Kise
                                                  Christopher Kise
